           Case 2:19-cv-01269-AKK Document 3 Filed 09/24/19 Page 1 of 27                  FILED
                                                                                 2019 Sep-24 PM 03:23
                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ALABAMA
                            SOUTHERN DIVISION

UNITED STATES OF AMERICA                       )
ex rel. HEATHER RANEY,                         )     JURY TRIAL DEMANDED
                                               )
      Plaintiff,                               )
                                               )
v.                                             )     2:19-CV-01269-AKK
                                               )
AMEDISYS, INC.,                                )
AMEDISYS HOME HEALTH OF                        )     **FILED UNDER SEAL**
ALABAMA, L.L.C.,                               )
                                               )
      Defendants.                              )

                   FIRST AMENDED QUI TAM COMPLAINT

      COMES NOW Relator Heather Raney (“Raney” or “Relator”), on behalf of

herself and the United States of America, and pursuant to 31 U.S.C. § § 3729-33 (the

“False Claims Act”) alleges and claims against Defendants Amedisys, Inc. and

Amedisys Home Health of Alabama, L.L.C. (collectively referred to herein as

“Amedisys”), as follows:

                           JURISDICTION AND VENUE

      1.       This action arises under the False Claims Act. Accordingly, this Court

has jurisdiction pursuant to 28 U.S.C. § 1331. Jurisdiction is also authorized under

31 U.S.C. § 3732(a) as well as under 28 U.S.C. § 1345. Under 31 U.S.C. §

3730(e)(4)(A), there has been no statutorily relevant public disclosure of

                                           1
           Case 2:19-cv-01269-AKK Document 3 Filed 09/24/19 Page 2 of 27




substantially the same “allegations or transactions” alleged in this Complaint. Even

to the extent there has been any such public disclosure, Raney meets the definition

of an original source, as that term is defined under 31 U.S.C. § 3730(e)(4)(B).

      2.       Venue lies in this judicial district pursuant to 31 U.S.C. § 3732(a),

because Defendants qualify to do business in the State of Alabama, transact

substantial business in the State of Alabama, transact substantial business in this

judicial District, and can be found here. Furthermore, Defendants committed within

this judicial District acts proscribed by 31 U.S.C. § 3729. As detailed below, the

Defendants’ actions and omissions have caused years of improper and false billings

to the United States through the Medicare program.

                                     PARTIES

      3.       Amedisys, Inc. is a Baton Rouge, Louisiana - based corporation

engaged in the business of providing home health and hospice services. Amedisys is

one of the nation’s largest home health and hospice care providers, with over 300

care centers nationwide.

      4.       Amedisys Home Health of Alabama, L.L.C. is an Alabama limited

liability company engaged in the business of providing home health and hospice

services in the State of Alabama.

      5.       Amedisys operates its home health business with the intent of

fraudulently maximizing its billing to and reimbursement from the United States.

                                          2
             Case 2:19-cv-01269-AKK Document 3 Filed 09/24/19 Page 3 of 27




        6.       Relator Raney is a licensed registered nurse (RN) of 11 years

experience. She became employed by Amedisys on June 5, 2017 as a “Director of

Operations /Administrator”. In her duties as Director of Operations, she covered

Amedisys’ Tuscaloosa, Alabama location throughout her employment, and she also

temporarily covered the Fayette, Alabama location beginning in July 2018.

Additionally, in her duties as Administrator, she covered Amedisys’ Tuscaloosa,

Fayette and Brent locations.

        7.       Ms. Raney became aware that Amedisys’ business practices were

designed to fraudulently maximize billing to the United States by falsely

representing the type and severity of patients’ medical conditions. Ms. Raney

communicated her concerns to her superiors at Amedisys, including its Area Vice

President of Operations, Mike Brown, Regional Vice President of Operations, Cami

Oravetz, Regional Vice President of Business Development, Rhonda Sanders,

Regional Vice President of Clinical, Tara Maher, and its Senior Vice President of

Home Health, Billy Grau. She was met with hostility and was terminated in

retaliation for her resistance to Amedisys’ fraudulent practices on or about June 26,

2019.

        8.       Ms. Raney has witnessed numerous instances in which Amedisys has

fraudulently inflated its Medicare billing to the United States and in which Amedisys

billed Medicare for patients whom it knew were not homebound and did not qualify


                                           3
           Case 2:19-cv-01269-AKK Document 3 Filed 09/24/19 Page 4 of 27




for the Medicare home health benefit. Through her experience, Relator has become

convinced that Amedisys’ fraudulent schemes represent wide-spread systematic

practices endemic to Amedisys. Amedisys’ conduct is offensive to Relator as a

dedicated healthcare professional. Accordingly, she filed this action as original-

source relator under the qui tam provisions of the False Claims Act.

      9.       Raney concurrently served upon the Attorney General of the United

States and the United States Attorney for the Northern District of Alabama the

original complaint and a written disclosure summarizing the known material

evidence and information in the possession of Plaintiff related to the original

Complaint, in accordance with the provisions of 31 U.S.C. §3730(b)(2). The

disclosure statement is supported by material evidence, and documentary evidence

has been produced with the disclosure. The documents referenced in the disclosure

statement, and those produced in connection therewith or subsequently, are

incorporated herein by reference.

                   MEDICARE HOME HEALTH COVERAGE

      10.      Through the Medicare program administered by Center for Medicare

and Medicaid Services (CMS), the United States provides health insurance to

eligible citizens. See 42 U.S.C. §§ 1395, et. seq. As part of its coverage, Medicare

pays for some “home health services” for qualified patients. In order to qualify for

home health care reimbursement under Medicare, a patient must: (1) be homebound

                                         4
        Case 2:19-cv-01269-AKK Document 3 Filed 09/24/19 Page 5 of 27




- i.e., the patient is generally confined to her home and the patient cannot leave home

without “considerable and taxing effort”; (2) need part-time skilled nursing services

or speech therapy, physical therapy, or continuing occupational therapy as

determined by a physician; and (3) be under a plan of care established and

periodically reviewed by a physician and administered by a qualified home health

agency (HHA). See 42 U.S.C. 1395(f). When a patient so qualifies, Medicare will

pay for: (1) part-time skilled nursing care; (2) physical, occupational, or speech

therapy; (3) medical social services (counseling); (4) part-time home health aide

services; and (5) medical equipment and supplies. Id.

      11.    Medicare pays for home health care by way of a Prospective Payment

System (PPS). See 42 C.F.R. § 484. The PPS is based on a “national prospective 60-

day episode payment,” a rate based on the average cost of care over a 60-day episode

for the patient’s diagnostic group. Upon a physician’s referral, an HHA is required

to make an initial assessment visit and perform a comprehensive assessment

encompassing the patient’s clinical, functional, and service characteristics.

Accordingly, a registered nurse must evaluate the patient’s eligibility for Medicare

home health care, including homebound status, and must determine the patient’s care

needs using the Outcome and Assessment Set (OASIS) instrument. The OASIS

diagnostic items describe the patient's observable medical condition (clinical),

physical capabilities (functional), and expected therapeutic needs (service).


                                          5
        Case 2:19-cv-01269-AKK Document 3 Filed 09/24/19 Page 6 of 27




      Based upon the OASIS information - and in tum upon the expected cost of

caring for the patient - the patient’s “case mix assignment” is determined and the

patient is assigned to one of 80 Home Health Resource Groups (HHRGs). The

patient’s HHRG assignment and other OASIS information are represented by a

Health Insurance Prospective Payment System (HIPPS) code that is used by

Medicare to determine the rate of payment to the HHA for a given patient.

      12.    Once the HAA has submitted the patient's OASIS information, partial

payment is made based on a presumptive 60-day episode. In order to continue

receiving covered care for another 60-day episode, the patient must be re-certified

by a physician within the final five days of the initial episode as requiring and

qualifying for home health care, and a new comprehensive assessment must be

performed. Throughout the patient’s episode, the HHA is required to maintain

clinical notes documenting the patient’s condition and the health services performed.

                           FRAUDULENT SCHEMES

      13.    Through a system of falsifying and manipulating Medicare-required

patient OASIS information, Amedisys systematically and fraudulently boosts its

Medicare prospective payments. Medicare's home health PPS is intended to cover

the projected cost of patient care. To that end, Medicare requires that an HHA

registered nurse or therapist make an initial visit to each patient and perform a

comprehensive assessment using the OASIS instrument. Medicare’s prospective

                                          6
        Case 2:19-cv-01269-AKK Document 3 Filed 09/24/19 Page 7 of 27




payment for that patient is then tied to the type and intensity - and therefore cost - of

care that will be required. For example, a patient that is completely bed-bound

manifestly requires more care - at greater expense - than a patient that is ambulatory.

Similarly, some conditions, such as CVA (stroke) may require extensive, costly,

physical and occupational therapy, whereas others, such as minor wound care, may

require only limited skilled nursing care and instruction. The admitting HHA nurse

is responsible for developing a physician-approved plan of care based on the patient's

clinical diagnosis and observable characteristics. Based upon the OASIS codes

reported by the HHA, the patient is associated with one of 640 HIPPS codes that are

designed to provide the most accurate payment for each patient. With the goal of

fraudulently placing patients in higher-value groups and boosting Medicare

payments, Amedisys systematically manipulates the PPS.

      14.    Specifically, the Clinical Managers are systemically instructed to

achieve desires outcomes by engaging in fraud. At eleven Alabama locations, the

Clinical Managers were under the direction Area Vice President of Operations, Mike

Brown. Mike Brown reported directly to the Regional Vice President of Operations,

Cami Oravetz, who since June 2016 was responsible for office and clinical

operations of 76 care centers in the South and Midwest region of the United States.

Each of the fraudulent billing practices described herein were directed and

orchestrated by Ms. Oravetz and corporate executives above her.


                                           7
          Case 2:19-cv-01269-AKK Document 3 Filed 09/24/19 Page 8 of 27




         15.     Raney was told by Mike Brown and Cami Oravetz on multiple

occasions, “You have to drink the Amedisys Kool-Aid – if you don’t, you won’t

make it”. Below are a variety of ways that Amedisys committed blatant Medicare

fraud:

   A.          Driveway Calls

         16.     OASIS scoring is based on patient observation by the admitting HHA

nurse and based on what the individual patient tells the admitting HHA nurse that he

can safely do. This is done at the initial evaluation visit. Rather than accepting the

assessment provided by the admitting HHA nurse, who is in the best position to

evaluate the patient, including whether, for example, the patient is actually

ambulatory or in fact home bound, the admitting nurse is ordered not to submit the

information gathered from her assessment to OASIS until the Clinical Manager to

whom the nurse reports is given a chance to manipulate this information. Referred

to at Amedisys as “driveway calls” (i.e. made before the attending HHA nurse leaves

the patient’s driveway and before the patient scores are actually entered into the

system), the admitting HHA nurse is required to call the Clinical Manager and report

all initial assessment findings and give the Clinical Manager an opportunity to

intervene and cause revisions to the nurse’s findings. These changes were meant to

maximize Medicare revenue despite the HHA nurse’s actual observations. These

revisions were made not just to initial evaluations, but also to re-certifications (i.e.


                                           8
         Case 2:19-cv-01269-AKK Document 3 Filed 09/24/19 Page 9 of 27




the beginning of a patient’s new episode) and resumptions of care (i.e. when a patient

was released from the hospital).

        17.     These revisions were extremely common and made solely for the

purpose of exaggerating the patient’s condition to make their condition appear worse

than it was in order to ensure that every patient was billed at the highest possible

level, regardless of the patient's actual condition and care needs. One of the admitting

HHA nurses, Brittany Griffin, asked Raney, “What’s the point of my evaluation

when it’s going to be changed anyway?” Ms. Griffin’s Clinical Managers were

Lindsey Smalley, Rita Gurganous and Jan Booth.

   B.         Fraudulent Revisions to OASIS Information.

        18.     In some cases a “driveway call” was not possible because of, i.e. the

unavailability of a Clinical Manager, and in those cases the Clinical Manager, who

again had no personal interaction with the patient, would require the admitting HHA

nurse to simply manipulate the OASIS information after it was in the system to

achieve billing at the highest possible level. These changes were directed by Mike

Brown to the Clinical Managers. These manipulations would include such things as

altering information to qualify a patient for home bound status when he otherwise

would not qualify, and altering information to cause a patient to qualify for a certain

number of therapy visits when they were not justified.

   C.         Falsely Reporting OASIS Assessment Data for Diabetic Patients.


                                           9
        Case 2:19-cv-01269-AKK Document 3 Filed 09/24/19 Page 10 of 27




      19.    Amedisys’ Coding and OASIS Specialists, including Heather Caffee,

were consistently instructed and pressured by their supervisors, including Amy

Allen, to falsely report the OASIS assessment data for diabetic patients. Medicare

pays a very high prospective rate for patients who are referred to home care for

sudden onset of diabetes or complications of a diabetic condition; such patients

require outpatient diabetic    instruction     as   well   as   therapeutic treatment.

Accordingly,     Amedisys’    coding and OASIS specialists        are   instructed   to

fraudulently make diabetes a patient’s “primary diagnosis” even when that

condition is entirely unrelated to the actual reason the patient has been referred to

home care. Such a patient may have lived with diabetes for years and require no

instruction or therapy. Diabetic instruction or related therapy therefore forms no

legitimate part of the patient’s home health care plan. Amedisys falsely bills the

United States and accepts payment for services that are not eligible for

reimbursement.

      20.    For example, on January 2, 2018, patient I.M. was assessed by Brittany

Griffin and Ms. Griffin listed the patient’s primary diagnosis and reason for home

health as a foot wound. The patient was diabetic but was well-educated as to her

disease process and her condition was well-managed. The patient required no further

instruction, therapy, or care related to her diabetic condition. Nonetheless, Griffin’s

assessment was revised by an Amedisys coding and OASIS specialist to reflect


                                          10
         Case 2:19-cv-01269-AKK Document 3 Filed 09/24/19 Page 11 of 27




diabetes as the primary diagnosis – to result in a much higher prospective payment.

When this assessment was later reviewed by the patient’s physician, Dr. Arash

Arabi, M.D., he noted that the assessment was “INCORRECT” and should have

stated, “superficial ulcer on the heel”, further stating, “this is not right”.

   D.         Falsification of Homebound Status.

        21.     As the Director of Operations/ Administrator, it came to Raney’s

attention that patients were being characterized as homebound when in fact they

were not. On one occasion on April 16, 2019, admitting nurse Brittany Griffin

evaluated patient E.H. for home health services. Upon her evaluation, Ms. Griffin

discovered that E.H.’s treatment would not be skilled care – the application of a

simple wet to dry dressing was a treatment not covered by Medicare because it can

be managed by a family member. Ms. Griffin also believed the patient was not home

bound and called her Clinical Manager, who deferred to Raney. Raney

recommended not admitted E.H. at that time. E.H. was able to drive herself

everywhere, including initially driving to the local hospital to have the dressing

attended.

        22.     Raney happened to be meeting at the Homewood office that day with

all area vice presidents and vice presidents of business development, clinical and

operations, and this matter was brought to the attention of management present at

the meeting by Care Transitions Coordinator, Amy McNees. The question was posed


                                            11
         Case 2:19-cv-01269-AKK Document 3 Filed 09/24/19 Page 12 of 27




to the group whether E.H. should be admitted to home health care during the

meeting, and Tara Maher, the Vice President of Clinical, stated to Raney, “I know

you’re going to admit her because I said so”.

        23.   On April 17, 2019, in the wake of Tara Maher’s directive, Raney was

summoned to meet with the Vice President of Business Development, Rhonda

Sanders, and her boss, Senior Vice President of Home Health, Billy Grau, to discuss

E. H.

        24.   Mr. Grau announced after hearing details of E.H’s situation, “If it’s a

Medicare then we say yes”. E.H. was then admitted to home health care despite

everyone involved knowing of the fraud, and in spite of Raney’s efforts to take a

lawful approach to this situation.

        25.   From this point forward, Raney was retaliated against, beginning with

a poor annual review from Mike Brown that he had to revise for lack of any basis,

followed by being shadowed by Robin Winstead, the new Regional Operations

Director, and ending with Raney’s termination for purely pretextual reasons.

        26.   In addition to E.H., another patient, D.B., was admitted for home health

care by Amedisys in Tuscaloosa, Alabama following a discharge from DCH

hospital. D.B. was not home bound and was able to drive himself to the liquor store,

and as a result of not being home bound, missed at least three visits because he was

not at home when services were attempted at his home.


                                          12
         Case 2:19-cv-01269-AKK Document 3 Filed 09/24/19 Page 13 of 27




        27.     Another patient on home health care who was improperly admitted and

was not home bound, L.H., was able to drive himself all over Tuscaloosa, Alabama

for whatever he needed, and he was able to drive approximately 60 miles to Jasper,

Alabama for a court appearance.

   E.         Keeping Patients a Minimum of Two Episodes.

        28.     Mike Brown, Cami Oravetz, Raney and all Clinical Managers received

compensation bonuses that were based on patient revenues budgeted by the

Amedisys corporate office. Raney was required to report admissions to home health

care and all re-certifications, which factored heavily into these bonuses. As a result,

Clinical Managers were incentivized and instructed by Mike Brown to attempt to

keep all patients for at least two episodes, regardless of their particular needs. The

number of patient episodes was purely driven by revenue.

   F.         LUPA Avoidance at all Cost.

        29.     Every Monday, the Clinical Managers created a Low Utilization

Payment Arrangement (“LUPA”) report under the direction of Mike Brown. A

LUPA occurs when four or fewer visits are provided to a patient in a 60-day episode.

With a LUPA, instead of an episode payment for a 60-day period based on the HIPPS

code, payment is based on a national standardized per visit payment by discipline, a

greatly reduced amount.




                                            13
       Case 2:19-cv-01269-AKK Document 3 Filed 09/24/19 Page 14 of 27




      30.    These LUPA reports were presented to Raney and then to Mike Brown.

The Clinical Managers were required to determine why each patient was a LUPA.

Mike Brown instructed Raney to keep a list of LUPA patients with doctor’s

appointments and have the clinicians call the patients to make sure they had no

additional home health needs, in an attempt to schedule additional visits within the

60-day time frame to avoid LUPA status, without regard to the actual care needs of

the patient. For example, the clinicians called to schedule discharge planning when

there was no clinical need for it. In other cases, the Clinic Managers would increase

the frequency of therapy or nursing appointments or add a social worker into the

treatment to avoid dreaded LUPA treatment, often all right at the end of the 60-day

episode. Also, often the patient did not want these crammed visits and/or were not

homebound. Frequently these situations were contentious with patients, who had no

way of knowing that they were being treated not based on their needs but instead

based on Amedisys’ desperation to avoid LUPA status. In one case, the patient

threatened to call the police for harassment.

      31.    Amedisys social workers and nurses also kept a LUPA list and were

required to call on monthly patients to see if there was anything they could do to

come out and see them so they would not end up as LUPAs.

      32.    It was extremely rare for former patients to call Amedisys and request

additional home health services at the end of their treatment. However, some


                                          14
         Case 2:19-cv-01269-AKK Document 3 Filed 09/24/19 Page 15 of 27




Amedisys Account Executive and Care Transitions Coordinators, including Ginger

Bowen in Fayette, Alabama, would call former Amedisys patients solely to increase

revenue in a given month. To do so, they could print a report from the Amedisys

database used in cold calling the patients to obtain their permission to call their

doctors to schedule additional home health services, regardless of their needs.

   G.         Maximizing Therapy Services.

        33.     It was the rule rather than the exception for a large number of therapy

services (physical therapy, speech therapy or occupational therapy) to be added in

the OASIS assessment at the beginning of treatment, despite the fact that it was

always unknown how many visits would be appropriate for the particular patient

until treatment was ongoing. Because therapy services were the most lucrative, it

was nearly automatic that at least fourteen treatments were entered. On February 14,

2018, Raney attended a Director Meeting in which increasing therapy income was

the focus. At the meeting, Clinical Managers were ordered to maximize the number

of therapy visits before beginning therapy to increase revenue. This guaranteed that

certain therapy treatments would be unnecessary.

   H.         Billing for Services Not Performed.

        34.     On two occasions Raney terminated employees when it became

apparent that they had not actually treated their patients, but Amedisys took no steps

to rectify any improper billings for these patients. Loretta Hargrove had been with


                                            15
         Case 2:19-cv-01269-AKK Document 3 Filed 09/24/19 Page 16 of 27




the company for approximately 30 years and falsified company records stating that

she had treated several patients, including J.B. J.H. and S.A., when she had only

gone to their homes and relaxed in front of the television, or otherwise not fulfilled

her responsibilities. When her patients complained, Raney fired her, but despite

reporting these matters to Mike Brown and Human Resources there was no

investigation conducted to learn the extent of Medicare billings for services that had

not been performed or any attempt to refund any payments wrongfully received from

Medicare.

        35.     Dewayne Mack was another employee who falsely certified patient

treatments. When Raney learned that Mr. Mack had attempted record home health

services to a patient, S.C., who was actually admitted in the hospital at the time of

the purported services, he was terminated. However, no investigation was conducted

by Amedisys to determine the extent of his fraud or to refund any Medicare

payments.

        36.     Raney also received complaint from a patient, C.G., that LPN employee

Martha Sanders had not taken vital signs from her or “even touched her” during a

visit on February 5, 2018. After investigating this matter, Raney submitted a formal

complaint to Mike Brown, who did nothing to address it.

   I.         Aggressive Referral Targeting/ Kickbacks.




                                           16
         Case 2:19-cv-01269-AKK Document 3 Filed 09/24/19 Page 17 of 27




        37.     Prior to being discharged from a particular hospital into home health

care, each patient is supposed to have a choice of who the home health care provider

will be. However, Amedisys Care Transitions Coordinators, including Amy

McNees, engaged hospital case managers to cause Amedisys to be identified on the

doctor’s discharge order as the home health provider. Because a Care Transitions

Coordinator’s compensation is based upon the number of referrals, it was common

for them, including Ms. McNees, to shower hospital case managers, including DCH

Hospital Case Manager, Michelle Bentley (a former Amedisys Clinical Manager),

with meals, entertainment and other forms of remuneration in order to remain the

referral of choice. In May 2019, Ms. McNees confided to Raney that DCH had been

investigating the overwhelming number of referrals made to Amedisys (for which

Ms. McNees received credit towards her bonuses) by Michelle Bentley.

        38.     Moreover, Amedisys Care Transitions Coordinators, including Ms.

McNees, targeted only those patients who had insurance coverage through Medicare,

Tricare, Triwest and Blue Cross Blue Shield Advantage (its Medicare Advantage

Plan), as their bonuses were linked solely to income from these plans. If a patient

had some other health care plan, they might be accepted, but they certainly were not

pursued.

   J.         Concealing Fraud.




                                           17
         Case 2:19-cv-01269-AKK Document 3 Filed 09/24/19 Page 18 of 27




        39.     On June 27, 2018, Raney attended a Clinical Manager meeting in which

Mike Brown stated that patients were not allowed to have more than 20 therapy visits

unless he approved them. This direction was also made by Mike Brown on February

19, 2019 and on other occasions. Mr. Brown also required therapy visits to be

staggered in order to ensure the therapy visits did not exceed 20 visits in one episode.

He stated that the reason for this rule is that it demonstrates to the Office of Inspector

General (OIG) the presence of “questionable billing practices”. Mr. Brown further

stated in this meeting that only 3% percent of patients should have more than 20

therapy visits and only 2% should have more than 24 therapy visits for Amedisys

not to draw OIG scrutiny. He also stated that if they had greater than 24 visits they

needed a neurological diagnosis (i.e. a stroke) so not to draw OIG scrutiny.

        40.     Amedisys received a Target Probe Education (“TPE”) audit by

Medicare in March 2019. To address the audit, Mike Brown led a meeting on or

about March 1, 2019 with Raney, Lindsey Giddens, Director of Operations in Brent,

Alabama and Melanie Farley, Area Vice President of Clinical present. Mike Brown

instructed during the meeting about how to get through the audit by holding certain

billings until the last phase of the audit, and specifically instructed “don’t send

incriminating stuff.”

   K.         Unauthorized Physical Therapy




                                           18
       Case 2:19-cv-01269-AKK Document 3 Filed 09/24/19 Page 19 of 27




      41.    When Raney began working at the Amedisys location in Fayette,

Alabama in or around July 2018, she observed that there had been no licensed

physical therapists employed at that location for approximately six (6) months, and

she also observed that numerous physical therapy visits were not getting completed.

Those visits would have been for evaluations, recertifications, functional

assessments, supervisory visits and discipline discharges. Medicare Conditions of

Participation (COP) require that functional evaluations and supervisory visits were

to be completed within thirty (30) days of treatment beginning, and if the functional

assessments or supervisory visits were not conducted in that time frame, then any

physical therapy treatments beyond the 30th day of treatment were not reimbursable

by Medicare.

      42.    With no physical therapists in Fayette, the patient population for that

location should not have received treatment beyond thirty (30) days, but that did not

stop Amedisys from having their physical therapy assistants treat in days 31-60 and

bill for non-reimbursable services anyway. This practice continued until Raney

became aware of it, at which time it ceased. However, this affected hundreds of

patients (approximately 75 per month just in Fayette), causing approximately 60

improper visits per patient per month while these improper treatments were ongoing.

      43.    This practice was not only a problem in the Fayette, Alabama area.

Raney observed this practice also occurring in the Trussville, Alabama area and


                                         19
         Case 2:19-cv-01269-AKK Document 3 Filed 09/24/19 Page 20 of 27




believed it to be widespread nationwide, since no effort was made by anyone other

than her to address it.

   L.         Education of SCALF Patients.

        44.     One of the services provided by Amedisys involves educating patients

about their condition and ongoing care. When a patient is in a Specialty Care

Assisted Living Facility (a “SCALF”), Medicare will not cover the cost of educating

the patient, because the patient is unable to receive any benefit from the education.

On October 19, 2017, Raney learned that education services were being provided to

SCALF staff at Morning Pointe of Tuscaloosa, The Tides at Crimson Village, and

Brookdale Northport Specialty Care and ordered these services to immediately stop

because the services were not reimbursable by Medicare. Raney reported this matter

to Mike Brown as well as Kim Cramer, Amedisys’ Regional Psychiatric Nurse

Educator. These services were nevertheless billed to Medicare, and nothing was

done to investigate the extent of these services performed and billed from other

SCALFs.

                               COUNT ONE
                     FALSE CLAIMS UNDER 31 U.S.C. § 3729

        45.     Relator adopts and incorporates the previous paragraphs as though

fully set forth herein.

        46.     By and through the fraudulent schemes described herein, Amedisys

knowingly - by actual knowledge or in deliberate ignorance or with reckless
                                          20
       Case 2:19-cv-01269-AKK Document 3 Filed 09/24/19 Page 21 of 27




disregard of the truth or falsity of the information - presented or caused to be

presented false or fraudulent claims to the United States for payment or approval and

knowingly made, used, or caused to be made or used, false records or statements

material to a false or fraudulent claim or to get a false or fraudulent claim paid or

approved by the United States, to wit:

             (a)   false “OASIS” patient care assessments designed to inflate

Medicare prospective payments and false claims based on such assessments;

             (b)   false claims for therapy services that were unnecessary, never

performed, or both;

             (c)   false claims for home health care provided to patients whom

Amedisys knew were not homebound and false records designed to create the false

appearance of homebound status.

      47.    The United States paid the false claims described herein and

summarized in paragraph 39(a)-(c).

      48.    By and through the actions described supra, Amedisys knowingly

made, used, or caused to be made or used, false certifications regarding past,

present, or future compliance with a prerequisite for payment or reimbursement by

the United States through Medicare.




                                         21
          Case 2:19-cv-01269-AKK Document 3 Filed 09/24/19 Page 22 of 27




      49.     Amedisys’ fraudulent actions described herein have resulted in damage

to the United States equal to the amount paid or reimbursed to Amedisys by the

United States through Medicare for such false or fraudulent claims.

      WHEREFORE, Relator demands judgment in her favor on behalf of the

United States and herself and against Amedisys in an amount equal to treble the

damages sustained by reason of Amedisys’ conduct, together with civil penalties as

permitted by 31 U.S.C. § 3729 and pursuant to any agreement with the Office of

Inspector General, attorneys’ fees, costs, interest, and such other, further, or different

relief to which Relator may be entitled.

                            COUNT TWO
              REVERSE FALSE CLAIMS UNDER 31 U.S.C. § 3729

      50.     Relator incorporates all previous paragraphs as though fully set forth

herein.

      51.     By and through the acts described herein, Amedisys knowingly made,

used, or caused to be made or used, false records or statements material to an

obligation to pay or transmit money or property to the United States or to conceal,

avoid, or decrease an obligation to pay or transmit money or property to the United

States and knowingly concealed or knowingly and              improperly     avoided    or

decreased an obligation to pay or transmit money or property to the United States,

to wit:



                                           22
        Case 2:19-cv-01269-AKK Document 3 Filed 09/24/19 Page 23 of 27




             (a)    Defendants knew that they had received millions of dollars in

home health PPS payments for patients who did not qualify for the Medicare home

health benefit, yet Defendants took no action to satisfy their obligations to the

United States to repay or refund those payments and instead retained the funds and

continued to bill the United States;

             (b)    Defendants knew that they had received millions of dollars in

home health PPS payments that were fraudulently inflated by false patient OASIS

assessment information, yet Defendants took no action to satisfy their obligations to

the United States to repay or refund those payments and instead retained the funds

and continued to bill the United States;

      52.    Amedisys’ fraudulent actions described herein have resulted in damage

to the United States equal to the amount of money withheld by Amedisys in

derogation of its obligations to refund the United States.

      WHEREFORE, Relator demands judgment in her favor on behalf of the

United States and herself and against Amedisys in an amount equal to treble the

damages sustained by reason of Amedisys’ conduct, together with civil penalties as

permitted by 31 U.S.C. § 3729 and pursuant to any agreement with the Office of

Inspector General, attorneys’ fees, costs, interest, and such other, different, or further

relief to which Relator may be entitled.

                             COUNT THREE
                     CONSPIRACY UNDER 31 U.S.C. § 3729
                                           23
          Case 2:19-cv-01269-AKK Document 3 Filed 09/24/19 Page 24 of 27




      53.     Relator incorporates all previous paragraphs as though fully set forth

herein.

      54.     Amedisys, in concert with its principals, agents, employees, and other

institutions did agree to submit the false claims described herein to the United

States, and the United States in fact paid those false claims. Likewise, Amedisys

in concert with its principals, agents, employees, and other institutions did agree to

reduce its obligations to the United States through the pattern and practice of reverse

false claims described supra.

      55.     Amedisys and its principals, agents, and employees acted, by and

through the conduct described supra, with the intent to defraud the United States by

submitting false claims to the United States through Medicare and Medicaid and

through a pattern and practice of fraudulently withholding money from the United

States through reverse false claims.

      56.     Amedisys’ fraudulent actions, together with the fraudulent actions of

its principals, agents and employees, have resulted in damage to the United States

equal to the amount paid by the United States to Amedisys and the amounts of

money wrongfully withheld by Amedisys from the United States as a result of

Amedisys’ false claims and reverse false claims.

      WHEREFORE, Relator demands judgment in her favor on behalf of the

United States and herself and against Amedisys in an amount equal to treble the
                                          24
          Case 2:19-cv-01269-AKK Document 3 Filed 09/24/19 Page 25 of 27




damages sustained by reason of Amedisys conduct and the conduct of its principals,

agents, employees, and other institutions, together with civil penalties as permitted

by 31 U.S.C. § 3729 and pursuant to any agreement with the Office of Inspector

General, attorneys’ fees, costs, interest, and such other, different, or further relief to

which Relator may be entitled.

                            COUNT FOUR
                  RETALIATION UNDER 31 U.S.C. § 3730(h)

      57.     Relator incorporates all previous paragraphs as though fully set forth

herein.

      58.     Through reporting, investigating, complaining of, and attempting to

stop the fraudulent conduct of Amedisys, Relator was disciplined, retaliated against,

threatened, discharged and discriminated against in the terms and conditions of her

employment by Amedisys because of lawful and protected conduct and acts done by

Relator in furtherance of an action under section 31 U.S.C. § 3729.

      59.     Relator is entitled to all relief necessary to make her whole, including

but not limited to back pay, front pay, compensatory damages sustained as a result

of discrimination, punitive damages, attorneys’ fees and costs.

      WHEREFORE, Relator demands judgment in her favor on behalf of the

United States and herself and against Amedisys as permitted by 31 U.S.C. § 3729,

including back pay, front pay, compensatory damages sustained as a result of



                                           25
Case 2:19-cv-01269-AKK Document 3 Filed 09/24/19 Page 26 of 27
Case 2:19-cv-01269-AKK Document 3 Filed 09/24/19 Page 27 of 27
